USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-3 filed 04/03/20 page 1 of 5




         EXHIBIT 1
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-3 filed 04/03/20 page 2 of 5




                        RE: Fw:




           RE: Fw:




     From:
     Sent: Saturday, September 2, 2017 05:41 PM
     To:
     Subject: RE: Fw:




                                                                   BAICELLS - 000013479
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-3 filed 04/03/20 page 3 of 5



      From:
      Sent: Monday, August 28, 2017 00:01 AM
     To:
     Subject: RE: Fw:




                                                                   BAICELLS - 000013480
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-3 filed 04/03/20 page 4 of 5




                 Fw:




    From:    Liang Xingang
     Sent: Sunday, August 27, 2017 02:42 PM
     To:
     Subject: Fw:




     From:
     Sent: August 26, 2017 02:51:55 AM
     To:
     Subject:

     Xingang,

     The attachment is my resume. Here are the customers I have now.




                                                                       BAICELLS - 000013481
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-3 filed 04/03/20 page 5 of 5




                                                                   BAICELLS - 000013482
